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                                                                          The Honorable Robert J. Bryan
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 7                             UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON (TACOMA)
 8
     HANA ETCHEVERRY, individually and on
 9   behalf of all others similarly situated               Case No. 3:19-cv-05261-RJB-MAT
10
                            Plaintiff,                     NON-OPPOSITION OF
11                                                         DEFENDANTS FRANCISCAN
              v.                                           HEALTH SYSTEM D/B/A CHI
12                                                         FRANCISCAN HEALTH,
     FRANCISCAN HEALTH SYSTEM D/B/A                        FRANCISCAN MEDICAL GROUP,
13   CHI FRANCISCAN HEALTH,                                FRANCISCAN HEALTH
14   FRANCISCAN MEDICAL GROUP,                             VENTURES, HARRISON
     FRANCISCAN HEALTH VENTURES,                           MEDICAL CENTER, and
15   HARRISON MEDICAL CENTER, and                          HARRISON MEDICAL CENTER
     HARRISON MEDICAL CENTER                               FOUNDATION TO PLAINTIFF’S
16   FOUNDATION                                            FINAL APPROVAL OF CLASS
17                                                         AND COLLECTIVE
                            Defendants.                    SETTLEMENT
18
                                                           Hearing Date: October 19, 2021
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21   TO THE COURT, PLAINTIFF, AND COUNSEL OF RECORD:

22            Defendants, FRANCISCAN HEALTH SYSTEM D/B/A CHI FRANCISCAN HEALTH,

23   FRANCISCAN MEDICAL GROUP, FRANCISCAN HEALTH VENTURES, HARRISON

24   MEDICAL CENTER, and HARRISON MEDICAL CENTER FOUNDATION, do not oppose

25   Plaintiff’s Motion for Final Approval of Class and Collective Settlement.

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      DEFENDANTS’ NON-OPPOSITION TO
      MOTION FOR FINAL APPROVAL
      OF CLASS AND COLLECTIVE ACTION SETTLEMENT
                                                                   1000 SECOND AVENUE, SUITE 3500
      (CASE NO. 3:19-CV-05261) - 1                                 SEATTLE, WA 98104 • (206) 393-5400




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                  Case 3:19-cv-05261-RJB Document 78 Filed 09/22/21 Page 2 of 3




 1            While Defendants continue to deny liability, Defendants do not oppose the final approval

 2 of this settlement as being fair, reasonable, and adequate.

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      Dated: September 22, 2021.
 4

 5                                               s/Donald L. Samuels
 6                                             Donald L. Samuels, WSBA #56214
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15                                             Attorneys for Defendants
                                               FRANCISCAN HEALTH SYSTEM D/B/A CHI
16                                             FRANCISCAN HEALTH, FRANCISCAN
                                               MEDICAL GROUP, FRANCISCAN HEALTH
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                                               VENTURES, HARRISON MEDICAL CENTER, and
18                                             HARRISON MEDICAL CENTER FOUNDATION

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27    DEFENDANTS’ NON-OPPOSITION TO
      MOTION FOR FINAL APPROVAL
      OF CLASS AND COLLECTIVE ACTION SETTLEMENT
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                  Case 3:19-cv-05261-RJB Document 78 Filed 09/22/21 Page 3 of 3




 1
                                   CERTIFICATE OF SERVICE
 2
         I hereby certify that on the date given below, I caused to be served the foregoing NON-
 3   OPPOSITION OF DEFENDANTS FRANCISCAN HEALTH SYSTEM D/B/A CHI
     FRANCISCAN HEALTH, FRANCISCAN MEDICAL GROUP, FRANCISCAN HEALTH
 4   VENTURES, HARRISON MEDICAL CENTER, AND HARRISON MEDICAL CENTER
     FOUNDATION TO PLAINTIFF’S MOTION FOR FINAL APPROVAL OF CLASS AND
 5   COLLECTIVE SETTLEMENT via CM-ECF Court Filing System on all the attorneys of record:
 6
      Beth E. Terrell, WSBA #2759            Attorneys for Plaintiff
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18    Houston, TX 77098

19
              DATED: September 22, 2021
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22                                            /s/Donald L. Samuels

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27    DEFENDANTS’ NON-OPPOSITION TO
      MOTION FOR FINAL APPROVAL
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